              Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 1 of 23             (1 of 23)




                             CASE NO. 23-1268



              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE NINTH CIRCUIT



                    PANOCHE ENERGY CENTER, LLC,
                                   Petitioner,
                                       v.
   U.S. ENVIRONMENTAL PROTECTION AGENCY; MICHAEL REGAN,
    Administrator of the U.S. Environmental Protection Agency, in his official
capacity; and MARTHA GUZMAN ACEVES, Regional Administrator of the U.S.
                  Environmental Protection Agency, Region IX

                                 Respondents.


           On Appeal from the U.S. Environmental Protection Agency
                       Permit No. R9UIC-CA1-FY17-2R


              DECLARATION OF MURRAY EINARSON
         IN SUPPORT OF PETITIONER’S MOTION FOR STAY


                                            K&L GATES LLP
                                            Ankur K. Tohan, WSBA No. 36752
                                            J. Timothy Hobbs, WSBA No. 42665
                                            Shelby R. Stoner, WSBA No. 52837
                                            925 Fourth Avenue, Suite 2900
                                            Seattle, WA 98104-1158
                                            Tel: 206-623-7580
                                            ankur.tohan@klgates.com
                                            tim.hobbs@klgates.com
                                            shelby.stoner@klgates.com

                                            Attorneys for Petitioner
                Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 2 of 23                 (2 of 23)




      I, Murray Einarson, declare under penalty of perjury the following:

      1.     My name is Murray Einarson. I am over the age of eighteen years, I

have personal knowledge of the facts stated herein, and I could and would

competently testify thereto if called as a witness.

      2.     I am a California-licensed Professional Geologist (“PG”), Certified

Engineering Geologist (“CEG”), Certified Hydrogeologist (“CHG”), and California-

licensed drilling contractor.    From 2010 to 2022, while working for AMEC

Corporation and later Haley & Aldrich, Inc., I supported Powerplant Management

Services (“PPMS”) on its Panoche Energy Center, LLC (“Panoche”) project in

Fresno County, California, the petitioner in this above-captioned proceeding.

      3.     I have over 40 years of experience in developing, testing, and applying

approaches and technologies for environmental site characterization and in situ

remediation. My expertise includes defining and evaluating processes that control

non-aqueous phase liquid source zone dissolution and the subsequent creation and

migration of dissolved plumes of contaminants and reaction byproducts. I have

expertise in contaminant hydrogeology and evaluating impacts to water supplies

resulting from contaminant releases to groundwater aquifers.

      4.     I am a pioneer in developing and applying innovative site assessment

technologies and practices to characterize contaminated sites. I have coauthored

industry and regulatory guidance documents on this subject, including the U.S.
                                         -2-
               Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 3 of 23                   (3 of 23)




Environmental Protection Agency’s (“EPA”) 2007 Expedited Site Assessment – A

Guide for Regulators.      I hold three patents on innovative site assessment

technologies, including a dual-tube soil coring system and a multilevel groundwater

monitoring system (the CMT™ multilevel monitoring system). I have provided

technical training in subsurface characterization and groundwater monitoring to

EPA and California State regulators. I am also a frequent lecturer to environmental

regulators in California and other states. I have authored or coauthored dozens of

technical publications and I regularly serve as a peer reviewer for several technical

journals. I am currently Associate Editor of the journal Groundwater Monitoring &

Remediation and also serve on the Board of Directors of the California Groundwater

Resources Association.

        5.   I have been an instructor in the Princeton Remediation course and the

University of Waterloo graduate course in field hydrogeology for the past 20 years.

I have also worked as a Consulting Assistant Professor at Stanford University in the

Civil and Environmental Engineering Department. In honor of my accomplishments

in the field of contaminant hydrology and groundwater protection, the National

Ground Water Association awarded me its Ground Water Technology Award in

2009.

        6.   I currently lead Haley & Aldrich’s national Contaminated Site

Management service, providing technical leadership on site characterization and

                                        -3-
                Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 4 of 23                     (4 of 23)




remediation projects throughout the company. A true and correct copy of my

professional resume is attached hereto as Exhibit A.

                      Background of the Panoche Power Plant

      7.     I began working for PPMS on its Panoche project in Fresno County,

California, in approximately 2010 while working at AMEC in Oakland, California.

My team and I moved to Haley & Aldrich, also in Oakland, California, in 2012,

where we continued to work on the Panoche project. I worked on the Panoche

project until 2022.

      8.     During this period, our technical team oversaw routine maintenance of

the injection wells that consisted of acid stimulation and back-flushing of the wells

to remove scaling that was obstructing the well perforations. That work was

performed by subcontractors and was done in accordance with work plans approved

by Mr. George Robin at EPA Region 9.

      9.     The integrity of the annular seals (pressure testing) in all four injection

wells was evaluated and reported to EPA in accordance with Panoche’s approved

operating permit every 5 years or when any major well work was performed.

External Mechanical Integrity Tests (“MITs”) and falloff tests (“FOTs”) were

required annually in all operating injection wells in accordance with the

requirements of Panoche’s Permit. External MITs were performed to demonstrate

that the fluid injected into the well is confined to the permitted injection zone and

                                         -4-
                Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 5 of 23                    (5 of 23)




does not cause flow within an underground source of drinking water (“USDW”) or

between USDWs. Well integrity testing plans and operations were reviewed and

approved by Mr. George Robin at EPA Region 9.

        10.   My team at Haley & Aldrich also performed quarterly and routine

annual compliance monitoring and reporting to EPA Region 9. That reporting

included transmitting to EPA Region 9 quarterly the results of chemical analysis of

a sample of the injected fluid and annually submitting a map depicting the Area of

Review (“AOR”) that formed the basis for evaluating an area surrounding the

injection wells for natural geologic pathways or artificial penetrations (e.g., oil and

gas wells) that could convey fluids from the injection zone up into an USDW. Under

the conditions of Panoche’s initial 2008 operating permit issued by EPA Region 9,

the AOR could be designated as (1) an area within a one-mile radius of the injection

wells or (2) an area where modeling showed the development of an upward hydraulic

gradient between the injection zone and the deepest USDW overlying the injection

zone.

           Panoche Formation Injection Zone Is Naturally Over-pressurized,
          Showing that the Injection Zone Is Isolated from Overlying USDWs

        11.   The static shut-in pressure during the startup of injection well IW2 in

March 2009 prior to injection of site wastewater was approximately 260 pounds per

square inch (“psi”) at the wellhead, using the ground surface as the datum. That

condition shows that the injection zone beneath the Panoche facility is hydraulically

                                         -5-
               Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 6 of 23                   (6 of 23)




isolated from overlying aquifers. Moreover, the concentration of total dissolved

solids (“TDS”) in Panoche Formation water ranged from approximately 35,000 to

112,000 milligrams per liter (“mg/L”), up to two orders of magnitude higher than

the TDS concentrations observed in the on-site water supply wells. The difference

in the TDS concentrations observed in the Panoche Formation and the overlying

aquifer further indicates the presence of effective geological barriers to upward

groundwater flow.

      12.    The naturally over-pressurized condition of the Panoche injection zone

meant that conventional methods of calculating the Zone of Endangering Influence

(“ZEI”) could not be used when determining the AOR. A ZEI for an injection well

cluster is the radius encompassing the lateral distance in which the pressures in the

injection zone have the potential to migrate upward to USDWs if there are natural

migration pathways such as faults or man-made pathways such as abandoned wells.

      13.    In 2011, we had a phone conversation with Mr. George Robin from

EPA to discuss this condition. Mr. Robin suggested that we use a numerical

groundwater flow model (“MODFLOW”) to define the ZEI.                   The use of

conventional numerical models for defining the ZEI was complicated at the Panoche

facility by the fact that injection of wastewater occurred intermittently, and the

MODFLOW software code assumes that fluid injection is constant. Consequently,

Mr. Robin recommended that we use a new software code developed by researchers

                                        -6-
               Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 7 of 23                   (7 of 23)




at Lawrence Berkeley National Laboratory (“LBNL”) that incorporates intermittent

injection. We used that new software code in our ZEI calculations as requested by

Mr. Robin.

      14.    Mr. Robin recommended that we depict the area where pressures in the

injection zone had increased by 50 psi and 25 psi in our annual monitoring reports.

The area where there has been a 25 psi pressure buildup in fluid pressure defined the

area that we evaluated annually to assess if there were any abandoned wells that

could be potential conduits for upward fluid migration from the injection zone.

Maps showing the areas of 50 and 25 psi pressure buildup were included in annual

monitoring reports submitted to EPA Region 9 from 2012 to 2021.

       Panoche Installed an Enhanced Wastewater Treatment System in 2016

      15.    In 2015, construction of an onsite Enhanced Wastewater Treatment

System (“EWS”) began at the site. The EWS went into operation in 2016. The

purpose of the EWS was to decrease the volume of wastewater that needed to be

disposed of via underground injection. The annual volume of wastewater injected

into the subsurface following construction of the EWS has decreased dramatically.

A true and correct copy of a graph showing a decrease of more than five million

gallons of wastewater per year in the years 2016, 2017, and 2018 following

construction and operation of the EWS, is attached hereto as Exhibit B.

      16.    The fluid pressure applied to the injection zone peaked in 2016 and will

                                        -7-
                Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 8 of 23                    (8 of 23)




continue to fall through 2029. Consequently, any hydraulic stresses placed on the

seals in abandoned wells within the ZEI resulting from injection of wastewater from

the Panoche facility have already peaked and will continue to decline over time.

Wastewater Injected Into Panoche Formation Will Never Reach Silver Creek
         18 Well, Which Was Properly Plugged and Abandoned

      17.    Saline groundwater in the Panoche injection zone occurs under

confined conditions, as discussed above. Thus, increases in fluid pressure propagate

laterally relatively quickly. That is a condition typical of confined aquifers. The

wastewater injected into the Panoche formation will have migrated only several

hundred feet from the Panoche facility by 2029, when wastewater injection is

expected to cease. The “plume” of nonhazardous wastewater will still be more than

one mile away from the Silver Creek 18 Well, which is the closest man-made conduit

to the Panoche site.

      18.    Oil and gas wells that are no longer used are sealed to prevent them

from acting as vertical conduits for fluid migration. The jargon used in the oil and

gas industry is to “abandon” the wells. That is a misleading term since it implies

that the owner of the well simply “walks away” from the old wells that are no longer

producing oil and/or gas. That has occurred in the past in other states, but California

has a mature program of regulatory oversight of oil and gas wells and has developed

and implemented strict protocols and procedures for sealing oil and gas wells when

they are no longer needed. Such protocols and requirements have been in place for

                                         -8-
                Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 9 of 23                      (9 of 23)




many decades in California. For example, every one of the former oil and gas wells

that have been evaluated by Panoche’s technical team as being potential man-made

conduits for fluid migration were sealed in accordance with the requirements of

California’s Division of Oil and Gas (referred to as “CALGEM”). Detailed sealing

records are available for all the wells and have been reviewed in detail by Panoche’s

technical team in their various evaluations of the potential for those sealed wells to

act as vertical conduits for fluid migration. Finally, sealing of all the old oil and gas

wells within the AOR of the Panoche facility was directly supervised by a

representative of CALGEM.

      19.    EPA Region 9 has concurred that the sufficient information exists that

shows that corrective action (e.g., resealing wells within the AOR) in not necessary.

  Construction of a Monitoring Well Will Not Provide Meaningful Data and
         Could Jeopardize the Integrity of the Silver Creek 18 Well

      20.    While EPA Region 9 has dropped its requirement for resealing oil and

gas wells within the AOR, it is still currently requiring that groundwater monitoring

be performed in the vicinity of the sealed well, the Silver Creek 18 Well, which is

the closest to the Panoche facility.

      21.    I believe that performing such monitoring is unnecessary and would

yield ambiguous data that would not provide meaningful information regarding

possible upward fluid migration within or near sealed well Silver Creek 18 Well

caused by operation of Panoche’s injection wells. The rationale for my opinion on

                                          -9-
               Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 10 of 23                 (10 of 23)




this topic includes:

          a. Sealing of Silver Creek 18 Well was performed in accordance with

             State standards and is therefore not a vertical conduit for fluid

             migration, as discussed above. The EPA as expressed its satisfaction

             that the well is not a potential conduit of fluid migration that would

             require corrective action.

          b. Our EPA-approved numerical modeling shows that the “front” of

             wastewater injected into Panoche Formation will not reach the location

             of the sealed Silver Creek 18 Well for hundreds of years, if ever.

             Consequently, there is no potential for the injected wastewater to

             migrate upward into an USDW via the sealed well.

          c. There is no pre-injection baseline groundwater quality condition

             established for the USDW in the vicinity of Silver Creek 18 Well, and

             the natural temporal variability of groundwater quality within the

             USDW is unknown. Thus, it will be impossible to determine if changes

             in water quality are due to natural fluctuations or migration of fluids

             upwards through the sealed well.

          d. The direction of groundwater flow in the USDW is the vicinity of

             sealed well Silver Creek 18 is unknown. Monitoring wells need to be

             positioned down-gradient (or downstream) of suspected vertical

                                          - 10 -
     Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 11 of 23                  (11 of 23)




   conduits in order to be able to attribute changes in groundwater quality

   in the USDW to possible upward migration of fluids from the Panoche

   Formation into the USDW.

e. The exact location of the portion of the wellbore for sealed well Silver

   Creek 18 Well in the depth corresponding to the USDW is unknown.

   The location of Silver Creek 18 Well at the ground surface has been

   recorded and can presumably be located using historical aerial

   photographs or surface geophysical surveys. However, oil wells are

   neither straight nor plumb. Thus, the exact location of the portion of

   the well in the depth interval of the USDW is unknown.             That

   contributes to problem described in 4 above that it would be impossible

   to install a monitoring well that could be confidently placed directly

   down-gradient of Silver Creek 18 Well.

f. There are many man-made hydraulic and geochemical impacts

   occurring the aquifers overlying the USDW (i.e., the upper and lower

   Tulare aquifers) that could impact the groundwater quality in the

   USDW that could be mistakenly attributed to leakage of fluids along

   the wellbore. There are two drinking water aquifers overlying the

   USDW in the vicinity of Silver Creek 18 Well that are actively pumped

   and managed. Also, those aquifers are impacted by nitrate and have

                             - 11 -
               Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 12 of 23              (12 of 23)




             TDS that vary spatially and temporally. The hydraulic connection of

             the USDW to the overlying aquifers is unknown. Thus, it would not be

             possible to rule out that changes in water quality over time in a

             monitoring well completed in the USDW were a result of changes in

             water quality within the overly aquifers.

      I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the

foregoing is true and correct.



      Dated: 
             __________




                                       Murray Einarson




                                       - 12 -
Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 13 of 23   (13 of 23)




      EXHIBIT A
                    Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 14 of 23                                               (14 of 23)




                             MURRAY D. EINARSON, P.G., C.E.G., C.H.G.
                             Technical Expert
                             EDUCATION
                             M.Sc., Hydrogeology, University of Waterloo, Ontario, Canada, 2001
                             B.A., Geology, University of California, Santa Barbara, 1982
                             PROFESSIONAL REGISTRATION
                             1995/CA: Certified Hydrogeologist (Reg. No. 56)
                             1992/CA: Certified Engineering Geologist (Reg. No. 1686)
                             1989/CA: Professional Geologist (Reg. No. 4621)
                             1992/CA: Licensed Water Well Contractor C-57 (Inactive) (Reg. No. 00773517)
                             PROFESSIONAL SOCIETIES                        OTHER
                             Association of Ground Water Scientists        Associate Editor of Ground Water
                                and Engineers                               Monitoring and Remediation (GWMR)
                             National Ground Water Association
                             California Groundwater Resources
                                Association
                             Society for Sedimentary Geology
                             Geological Society of America
                             AWARDS
                             Recipient of Association of Ground Water Scientists and Engineers, National Ground
                             Water Association, 2009 Technology Award

Mr. Einarson has 35 years of experience in forensic hydrogeology. A student of Dr. John Cherry at the University of
Waterloo, Canada, his expertise includes performing detailed analyses of existing data sets to determine the source(s)
and timing of chemical releases to the subsurface. Mr. Einarson has expertise in small-scale contaminant hydrogeology
but particularly enjoys projects that require holistic evaluations of potential impacts to water supply wells resulting
from releases of contaminants to groundwater aquifers.
He is a pioneer in the development and application of expedited site assessment technologies and practices to
characterize contaminated sites quickly and cost effectively, and has co-authored industry and regulatory guidance
documents on this subject. He also holds patents on innovative site assessment technologies, including a dual-tube
soil coring system and a multi-level groundwater monitoring system (CMT™ multilevel monitoring system).
Mr. Einarson has provided technical training in subsurface characterization and groundwater monitoring for California
Regional Water Quality Control Board (RWQCB) technical staff as a paid instructor for five years. He is also a frequent
lecturer to environmental regulators in California and other states. He has authored or co-authored dozens of
technical publications and regularly serves as a peer reviewer for several technical journals.
He has been an instructor in the Princeton Remediation course and the University of Waterloo graduate course in field
hydrogeology for the last 20 years. In addition, Mr. Einarson served as a Consulting Assistant Professor in the
Department of Civil and Environmental Engineering at Stanford University for four years.
In honor of his many accomplishments in the field of contaminant hydrogeology and groundwater protection, the
National Ground Water Association awarded Mr. Einarson its Ground Water Technology Award in 2009.
                     Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 15 of 23                                                 (15 of 23)

MURRAY D. EINARSON, P.G., C.E.G., C.H.G.
PAGE 2

RELEVANT PROJECT EXPERIENCE
Consulting
Greenfield Multistate Environmental Trust, LLC. Supplemental Remedial Investigation of Former Vanadium Plant,
Soda Springs, Idaho. Developed and supervised an expedited investigation of a 3-mile-long plume of vanadium and
molybdenum in a fractured basalt aquifer. Used sonic drilling methods to quickly collect continuous cores to depths
up to 300 feet. Used hand-held XRF to identify solid-phase contamination in the rock cores and to characterize the
elemental composition of the various basalt flows for stratigraphic correlations. Installed CMT Multilevel wells – a
technology developed and patented by Murray Einarson – to characterize the lateral and vertical extent of the
dissolved metals. Performed detailed analysis of mineralogy using X-Ray diffraction, Raman spectroscopy, Scanning
Electron Microscopy (SEM) and microprobe analysis. Used colloidal borescope to measure horizontal groundwater
velocity and performed a detailed mass balance of discharged and recovered contaminant mass. Evaluated redox
manipulation in the field and laboratory to assess the feasibility of enhanced attenuation of dissolved metals in situ.

Proctor and Gamble (Gillette; formerly Papermate). Evaluation of Regional Groundwater Contamination and
Impacts to Supply Wells, Santa Monica, CA. Compiled existing published information and subsurface data, including
geophysical logs from several supply wells, and developed a comprehensive 3-D physical conceptual model of the
aquifer system in the Olympic Well Field in Santa Monica. Helped design and implement a comprehensive program of
multi-level monitoring at a former industrial site near the well field that characterized the head distribution, solute
concentrations, and contaminant mass loading rates at the site. Results of this work showed that marine silt and clay
aquitards exhibit strong resistance to vertical groundwater flow, with heads on either side of 30-ft-thick aquitards
being as much as 40 ft of water pressure different. High resolution data from this investigation also identified regional
geologic structures that have never been published in the technical literature. Results of this comprehensive
investigation shed new light on suspected sources of contaminants that have been detected in nearby supply wells
and identified new options for aquifer restoration.

Confidential Client, In-situ Remediation, Free-phase and Dissolved VOCs in a Complex Sequence of Alluvial
Sediments, Palo Alto, CA. Technical advisor for the design and implementation of an expedited assessment of the
hydrogeology and subsurface contamination in a complex sequence of alluvial sediments in the North Santa Clara
Valley. Technologies used included transects of cone penetrometer testing (CPT), electrical conductivity profiling,
membrane interface probe (MIP), Waterloo Profiler, and surface and subsurface geophysics. Assisted in designing
innovative in-situ reactive barrier utilizing large-diameter columns filled with zero-valent iron particles.

Santa Clara Valley Water District (SCVWD), Assessment of Impacted Water Supply Wells, San Jose, CA. Retained by
the SCVWD to provide expert opinions regarding the detection of MTBE in a municipal water supply well in south San
Jose. Provided guidance on the likely release areas, plume migration history, and options for protecting the water
supply. Work on this project used a heat-pulse flow meter to assess vertical flow of groundwater in the well when it
was not being pumped. This information, combined with depth-discrete samples collected from the wellbore,
revealed that groundwater containing MTBE from a shallow aquifer was flowing down the wellbore and discharging
out the bottom of the well at a rate of 125 gpm. Based on this information, new sources of the MTBE were identified
at nearby gas station sites. Information gained from the vertical flow and solute profiling was used to install a vertical
barrier in the well (using an inflatable packer and pressure grouting of the sand pack) that prevents vertical movement
of impacted groundwater within the wellbore.

City of Calistoga, Assessment of Impacted Water Supply Wells, Calistoga, CA. Retained by the City of Calistoga to
provide an expedited assessment of the source of MTBE that had been detected in nearby supply wells. Performed a
rapid assessment of the subsurface geology and hydrogeology using CPT and other innovative characterization tools.
Then installed an arc of CMT™ multilevel monitoring wells to characterize the location, concentration distribution, and
mass loading (mass flux) rate of the MTBE plume emanating from the release site. This investigation suggested that
one of the supply wells, when idle, was likely acting as a vertical conduit that was conveying dissolved MTBE down the
wellbore and into a deeper aquifer where it was being drawn laterally into nearby pumping wells. This hypothesis was
tested by performing vertical flow profiling (using a heat pulse flowmeter) and collecting depth-discrete groundwater

haleyaldrich.com
                    Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 16 of 23                                               (16 of 23)

MURRAY D. EINARSON, P.G., C.E.G., C.H.G.
PAGE 3

samples from the idle well. This data confirmed the hypothesis that the idle well was a vertical conduit. The conduit
well was decommissioned, and a program of in-situ flushing was designed and implemented to remove the dissolved
MTBE from the deeper aquifer. This work, combined with aggressive remediation of the MTBE source zone, has
restored the aquifer completely (i.e., to non-detect levels).

Assessment of Contaminant Sources Responsible for Chemical Impacts Detected in Municipal Water Supply Wells,
MTBE Joint Defense Group, Orange County, California. Developed and implemented a comprehensive scope of work
to identify and characterize sources of organic contaminants detected in active municipal supply wells in Yorba Linda,
California. Regional geologic and hydrogeologic information was first compiled and analyzed, along with data
regarding nearby chemical release sites, supply well construction and operational history. An inverse numerical model
was run to identify the time-dependent capture zones of the impacted supply wells. Based on the results of the
inverse modeling, the most likely sources of contamination were identified. High resolution assessments of each
suspected contaminant source were performed using CPT, sonic drilling, depth-discrete groundwater sampling, and
installation of multi-depth groundwater monitoring wells. Results from this comprehensive investigation indicated
that recharge from the nearby Santa Ana River was the most likely source of low-level VOCs detected in the sampling
transects and supply wells. Research performed by USGS during this time frame supported this conclusion.

Defined Preferred Flowpaths and Remediation Options for TCE Contamination at an Electronics Manufacturing
Plant, Philips Semiconductor, Silicon Valley, California. Performed a detailed stratigraphic and groundwater
assessment to determine the cause of off-site contaminant migration at a large solvent release site in Sunnyvale,
California. Used innovative site characterization technologies to quickly map the locations of preferred pathways of
contaminant migration in the subsurface. Installed supplemental extraction wells to fully contain the contamination.

In-situ Remediation of Free-phase and Dissolved VOCs in a Complex Sequence of Alluvial Sediments, Confidential
Client, Palo Alto, CA. Technical advisor for the design and implementation of an expedited assessment of the
hydrogeology and subsurface contamination in a complex sequence of alluvial sediments in the North Santa Clara
Valley. Technologies used included transects of CPT, electrical conductivity profiling, MIP, Waterloo Profiler, and
surface and subsurface geophysics. Currently designing innovative in-situ reactive barrier utilizing large-diameter
columns filled with zero-valent iron particles.

Chemical Waste Management, Hydrogeologic Assessment of Class I Hazardous Waste Site, Kings County, California.
Supervised installation of a groundwater monitoring network at the Class I Kettleman Hills hazardous waste disposal
facility in central California. Installed thirty 500-ft monitoring wells in a complex multi-aquifer system. Performed
detailed geologic mapping and subsurface stratigraphic correlation prior to designing and installing wells. Logged over
3,500 ft of rock core and drill cuttings. Interpreted and correlated all geophysical logs. Developed and oversaw
subsequent vapor and groundwater monitoring programs.

West Covina Landfill, BKK Corporation, Assessment of Vapor-Phase Migration of Chlorinated Volatile Organic
Compounds (VOCs), West Covina, CA. Designed and performed a detailed investigation of contaminant vapors
emanating from a closed Class I hazardous waste landfill in southern California. Provided recommendations to
augment the vapor recovery system to protect nearby residents from potentially harmful exposure to vinyl chloride
and other chlorinated organic contaminants.

Research
Development and Testing of a New Laser-Induced Fluorescence (LIF) Tool for Mapping DNAPL in the Subsurface. LIF
tools have revolutionized the characterization of NAPL source zones containing polynuclear aromatic compounds
(PAHs) but chlorinated solvent dense non-aqueous phase liquids (DNAPLs), cannot be detected with conventional LIF.
Working with Dakota Technologies, we developed a new generation of LIF that can detect chlorinated DNAPLs in the
subsurface. Our innovation consists of injecting a hydrophobic, fluorescent dye ahead of the LIF detector. If NAPL is
present, no matter what its chemical composition, it will fluoresce and be detected using LIF. Collaborators included
Dakota Technologies and the University of Guelph. Environmental Security Technology Certification Program (ESTCP)
Research Project ER201121. Mr. Einarson was the Principal Investigator.

haleyaldrich.com
                     Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 17 of 23                                               (17 of 23)

MURRAY D. EINARSON, P.G., C.E.G., C.H.G.
PAGE 4

Evaluation of Biases Associated with Low-Flow Purging and Sampling of Single-Interval, Conventional Monitoring
Wells Installed in Vertically-Stratified Contaminant Plumes. Numerical simulations of sampling biases associated
with depth-specific, low-flow purging and sampling of conventional, long-screened monitoring wells. Several different
scenarios were simulated, including thin, vertically-stratified chemical plumes flowing through the well screens at
different depths. The effects of ambient vertical flow in the wells caused by vertical pressure gradients were also
simulated. Simulations were performed using the variably-saturated numerical model, MODFLOW-SURFACT using the
FWL5 well package. Mr. Einarson was the principal investigator.

Vertical Profiling of Idle Supply Wells, Daly City, CA. Designed and led a field study to measure vertical flow and
solute distribution in two idle water supply wells in Daly City. This project was focused on evaluating water quality in
the aquifer prior to initiating enhanced groundwater storage in the Daly City aquifer so that it could be used by the
residents of the City of San Francisco in case of a water emergency. The project evaluated the hypothesis that vertical
gradients within the aquifer were conveying shallow solutes to greater depths via vertical wellbore flow when the
wells were not being pumped. Water samples collected from the wells when they were restarted showed
anomalously high concentrations of those solutes initially, followed by declining concentrations over time as the
redistributed water was purged from the aquifer. During this project a sensitive heat-pulse flowmeter was used to
measure vertical flow rates at 15 different depths in the wells. The resolution of the flowmeter was increased using
flow diverting disks designed and constructed by Mr. Einarson. Many different types of water quality analyses were
performed on samples collected from the wells, including analytes characteristic of historic agricultural land use and
recharge of recycled water. Project funding was from the San Francisco Public Utilities Commission. The research
group included Stanford University; the principal investigator was Prof. David Freiberg.

Vandenberg Air Force Base (AFB), Effects of Ethanol on MTBE & BTEX biodegradation, California. Research
hydrogeologist on a series of controlled release experiments to evaluate the effects of dissolved ethanol on the
natural attenuation of methyl tert-butyl ether (MTBE) and benzene, toluene, ethylbenzene, and xylenes (BTEX)
compounds. Project included detailed microbiological assessments and measurements of solute mass discharge along
the flow path over time. Project funding was primarily from the California Department of Public Health. The research
organization was the University of California, Davis (UC Davis); Doug Mackay was the principal investigator.

Vandenberg AFB, Diagnostic Tools for Performance Evaluation of Innovative In-situ Remediation Technologies at
Chlorinated Solvent-Contaminated Sites, California. Project hydrogeologist and research manager for research
focusing on evaluating four field methods for quantifying contaminant mass flux: (1) synoptic point measurements
along sampling transects; (2) integral pumping techniques; (3) flux meters (developed by researchers at University of
Florida); and (4) horizontal recirculation techniques. The project site is a former fuel release site (Site 60) at
Vandenberg AFB. Funding for the project was from the ESTCP. The research group included Malcolm Pirnie; Mike
Kavanaugh was the principal investigator. Site 60 principal investigator was Doug Mackay of UC Davis.

Evaluation of Isotopic Fractionation as a Potential Tool for Demonstrating Natural Biodegradation of MTBE,
Multiple Sites. Member of project team that designed and implemented a field and laboratory investigation to
determine whether isotopic fractionation of carbon is a potential technique for identifying MTBE biodegradation at
fuel release sites. Project consists of collecting groundwater samples at well-characterized field sites and analyzing
the samples to quantify the ratio of 13C to 12C in dissolved MTBE. Consumption of MTBE molecules made of lighter
12C is favored by indigenous microbes, leading to enrichment of 13C in the un-reacted fraction of dissolved MTBE.
Project funding was primarily from the Lyondell Chemical. The research organization was the University of Waterloo;
Doug Mackay was the principal investigator.

Vandenberg AFB, Enhanced Aerobic Biodegradation of MTBE, California. Led site characterization efforts at
Vandenberg AFB Site 60 MTBE field research site. Project included a detailed field study of a 1,700-ft-long MTBE
plume and development and testing of methods to enhance MTBE biodegradation using in-situ biogeochemical
reactions. Project funding was primarily from the American Petroleum Institute. The research organization was the
University of Waterloo; Doug Mackay was the principal investigator.



haleyaldrich.com
                     Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 18 of 23                                                  (18 of 23)

MURRAY D. EINARSON, P.G., C.E.G., C.H.G.
PAGE 5

Experimental Funnel-and-Gate Permeable Reactive Barrier, Alameda Point, CA. Characterized the hydrogeology and
contaminant distribution at Site 1 in Alameda Point. Assisted in the design and installation of a funnel-and-gate
reactive wall system that uses a sequential reactor (zero-valent iron and an aerobic biosparge chamber) to treat a
high-strength plume of chlorinated organics and petroleum hydrocarbons in-situ. Funding came from the U.S.
Department of Defense. The research organization was the University of Waterloo; James F. Barker was the principal
investigator.

Recent Expert Litigation Testimony
Testifying Expert, SABIC v. OCWD, 2021. Superior Court of the State of California, County of Orange. Case No. 30-
2008-00078246-CU-TT-CXC. Testifying expert representing DRSS, defendant in litigation filed against several
defendants in the South Basin lawsuit alleging impacts to groundwater from releases of chlorinated volatile organic
compounds (CVOCs). Retained by Newmeyer & Dillion LLP.

Testifying Expert, City of Pomona, CA, vs. SQMNA, 2012 to 2021. U.S. District Court for the Central District of
California. Case No. 11-cv-00167-RGK. Testifying expert representing the Chilean National Fertilizer Company of North
America, SQMNA, defendants in litigation filed by the City of Pomona, California, regarding perchlorate that has been
historically detected in the City’s supply wells. Researched subsurface conditions in area, critiqued Plaintiff’s numerical
model, and authored expert report. Retained by Lewis Brisbois Bisgaard & Smith, LLP

Testifying Expert, MGP IX Lincoln Station, LLC vs. City of Cerritos, California, 2014. U.S. District Court, Central
District of California. Case No. CV12-8239-PA. Testifying expert representing the City of Cerritos, California in
litigation filed against them by a nearby property owner. Specifically, the property owner alleged that contamination
impacting the plaintiff’s property originated from a leaking sewer pipe owned and maintained by the City of Cerritos.
Performed a forensic evaluation of all data that showed that historic leakage from the City’s sewers were unlikely to
be the source of contaminants impacting the plaintiff’s property. Retained by McKenna Long & Aldridge, LLP.

RECENT TEACHING EXPERIENCE
“Princeton Remediation Course.” Princeton Groundwater, Inc. Courses held in Denver and California. Course
instructor. Lectures focus on the nature of NAPL source zones; origin, attenuation, and monitoring of dissolved plumes
of organic contaminants; environmental site characterization; interpreting groundwater monitoring data; and new
paradigms for environmental site remediation. Courses held semi-annually. Ongoing.

“University of Waterloo Graduate Field School.” University of Waterloo, Ontario, Canada. Course instructor. Course
focuses on approaches and technologies for environmental site characterization and monitoring. Course held during
the spring of each year. Ongoing.

“Modern Approaches and Technologies for Subsurface Investigations.” California State Water Resources Control Board
(SWRCB) technical training. Various RWQCB offices in California. Course instructor for seminar. 2004 to 2009.

“Singapore-Stanford Partnership (SSP) Short Course on Contaminant Hydrogeology.” Nanyang Technological
University (NTU), Singapore. Course instructor for one-week course given to students. September 2003.

“Methods for Measuring Contaminant Mass Discharge.” 2002 Petroleum Hydrocarbons and Organic Chemicals in
Ground Water Conference, Atlanta, GA. Course instructor. Short course focused on theory and current approaches for
measuring contaminant mass discharge at fuel release sites. November 5, 2002.

“Strategies for Characterizing MTBE Release Sites.” Sponsored by the American Petroleum Institute, held in Denver,
Sacramento, San Diego, and Houston. Course instructor. Short courses focused on basic principles of contaminant
hydrogeology and groundwater monitoring, dissolved plumes in regional flow systems, and effective strategies for site
characterization and remediation. 2001.



haleyaldrich.com
                     Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 19 of 23                                                 (19 of 23)

MURRAY D. EINARSON, P.G., C.E.G., C.H.G.
PAGE 6

PEER REVIEWED PUBLICATIONS
“Spatially Averaged, Flow‐Weighted Concentrations – A More Relevant Regulatory Metric for Groundwater Cleanup.”
Groundwater Monitoring & Remediation v37, no. 4. December 2017.

“DyeLIF™: A New Direct-Push Laser-Induced Fluorescence Sensor System for Chlorinated Solvent DNAPL and Other
Non-Naturally Fluorescing NAPLs,” with A. Fure, R. St. Germain, S. Chapman, and B. Parker. Groundwater Monitoring
& Remediation 38:28-42. 2017

“Mass Discharge in a Tracer Plume: Evaluation of the Theissen Polygon Method.” with D.M. Mackay, P. Kaiser, M.
Nozawa-Inoue, S. Goyal, I. Chakraborty, R. Ehsan, and K. Scow. Ground Water, early release online edition. 2012

“Sampling Transects for Affordable, High-Resolution Plume Characterization and Monitoring,” with D.M. Mackay and
P. Bennett. Ground Water, v48, no. 6, pp 799-808. 2010.

“Effect of Ethanol on Microbial Community Structure and Function During the Natural Attenuation of Benzene,
Toluene and o-Xylene in a Sulfate-Reducing Aquifer,” with K.P. Feris, D. Mackay, N. de Sieyes, L. Jacobson, I. Wood,
and K. Scow. Environmental Science and Technology, v. 42, no. 7, pp. 2289 - 2294. March 2008.

“Impact of Ethanol on the Natural Attenuation of MTBE in a Normally Sulfate-Reducing Aquifer,” with D.M. Mackay, N.
de Sieyes, M. Einarson, K. Feris, A. Pappas, I. Wood, L. Jacobson, L. Justice, M. Noske, J. Wilson, C. Adair, and K. Scow.
Environmental Science and Technology. v.41, no. 6, p. 2015-2021. 2007.

“Impact of Ethanol on the Natural Attenuation of Benzene, Toluene, and o-Xylene in a Normally Sulfate-Reducing
Aquifer,” with D.M. Mackay, N. de Sieyes, K. Feris, A. Pappas, I. Wood, L. Jacobson, L. Justice, M. Noske, K. Scow, and J.
Wilson. Environmental Science and Technology. v. 40, no. 19, pp. 6123-6130. 2006.

“A New Multilevel Groundwater Monitoring System Using Multichannel Tubing,” with J.A. Cherry. Ground Water
Monitoring and Remediation. v. 25, no. 4, pp. 52-65. 2002.

“In Situ Treatment of MTBE-Contaminated Groundwater at Two Sites in California,” with D.M. Mackay, R. Wilson, C.
Naas, I. Wood, K. Scow, A. Smith, D. Gandhi, K. Hritsova, and B. Watanabe. Groundwater Quality 2001 Conference,
Sheffield, UK. June 2001.

Groundwater Quality: Natural and Enhanced Restoration of Groundwater Pollution. S.F. Thornton and S.E. Oswald,
eds. IAHS Publ. no. 275. 2002.

“Predicting Impacts of Groundwater Contamination,” with D.M. Mackay. Environmental Science and Technology. v.
36, no. 6, pp. 66A-73A. 2001.

“In Situ Remediation of MTBE at Vandenberg Air Force Base, California,” with D.M. Mackay, R. Wilson, K. Scow, W.L.
Fowler, and I. Wood. Contaminated Soil, Sediment & Water. v. 1, no. 2, pp. 43-46. 2001.

BOOK CHAPTER
“Multi-level Ground Water Monitoring.” Chapter 11 in Practical Handbook of Ground Water Monitoring, D. Nielsen,
(ed.) CRC Press. 2006.

GUIDANCE MANUALS AND INDUSTRY STANDARDS
Strategies for Characterizing Subsurface Releases of Gasoline Containing MTBE. E. Nichols and M.D. Einarson.
American Petroleum Institute, Regulatory and Scientific Affairs Publication no. 4699. February 2000.

USEPA, Expedited Site Assessment Tools for Underground Storage Tank Sites – A Guide for Regulators. Washington,
D.C. Contributing author. 1997.

haleyaldrich.com
                    Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 20 of 23                                            (20 of 23)

MURRAY D. EINARSON, P.G., C.E.G., C.H.G.
PAGE 7

American Society of Testing and Materials (ASTM). Standard on Accelerated Site Characterization (E50.01). Co author.
1995.

PATENTS
Continuous Multichannel Tubing (CMT) Multilevel Monitoring System (U.S. Patent No. 6,865,933 B1)

Double-Rod Soil Sampler, U.S. Patent Application Serial No. 07/954,987

Soil Sampler with Fluid-Coupled Latch, U.S. Patent Application Serial No. 08/261,397




haleyaldrich.com
Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 21 of 23   (21 of 23)




      EXHIBIT B
                                                                                                                                                 Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 22 of 23                                           (22 of 23)

C:\Users\jchu\Dropbox\NOD Response\~NOD RESPONSES FINAL DOCUMENTS\ATT. A - AOR\[Figure A-1.xlsx]Figure E




                                                                                                           NOTES:                                                                                          PANOCHE ENERGY CENTER
                                                                                                           1. THE OPERATION OF THE ENHANCED WASTEWATER SYSTEM (EWS) BEGINS AT THE END OF JUNE 2016.        43833 WEST PAHNOCHE ROAD
                                                                                                           2. THE ANNUAL INJECTION VOLMUNES ARE BASED ON THE PLANT OPERATION DATA.                         FIREBAUGH, CALIFORNIA



                                                                                                                                                                                                           WASTEWATER INJECTION
                                                                                                                                                                                                           ANNUAL VOLUMES (2009 - 2018)

                                                                                                                                                                                                           JANUARY 2019               FIGURE A-2
              Case: 23-1268, 06/23/2023, DktEntry: 5.4, Page 23 of 23              (23 of 23)




                        CERTIFICATE OF SERVICE

      I hereby certify that on June 23, 2023, I arranged for the
foregoing document to be electronically filed with the Clerk of the Court for
the United States Court of Appeals for the Ninth Circuit by using the
appellate CM/ECF system.

      Participants in the case who are registered CM/ECF users will be served by
the appellate CM/ECF system.

                                               /s/ Abigail Belscher
                                               Abigail Belscher




                                      - 13 -
